         Case 1:21-cr-00028-APM Document 565 Filed 12/23/21 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
            v.                            )                   Case No. 21-cr-28 (APM)
                                          )
THOMAS E. CALDWELL, et al.,               )
                                          )
      Defendants.                         )
_________________________________________ )

                                             ORDER

       Defendant Kelly Meggs’s (1) Motion for Issuance of a Subpoena Duces Tecum to the

U.S. Capitol Police, ECF No. 500, and his (2) Request for Scheduling Hearing, Argument, of His

Motion for Issuance of a Subpoena Duces Tecum to the U.S. Capitol Police, ECF No. 502, are

hereby denied and his (3) Motion for Leave of Court to File Amended Reply, ECF No. 547, is

hereby granted.

       Defendant’s request that the court issue a subpoena to the U.S. Capitol Police is denied

because he has failed to show that the requested records are “not otherwise procurable reasonably

in advance of trial by exercise of due diligence.” United States v. Nixon, 418 U.S. 683, 699–700

(1974). Unlike a subpoena directed to a third party, Defendant here seeks records from a

government agency, the U.S. Capitol Police. Defendant therefore should be able to obtain the

records he seeks directly from the prosecution under Federal Rule of Criminal Procedure 16.

See United States v. Cuthbertson, 651 F.2d 189, 195 (3d Cir. 1981) (distinguishing between

“exculpatory material in the possession of the prosecution” and “exculpatory evidence in the

possession of third parties,” and stating that “[o]nly the latter is retrievable under a [R]ule 17(c)

subpoena”). He thus far has not shown an inability to do so.
        Case 1:21-cr-00028-APM Document 565 Filed 12/23/21 Page 2 of 2




       That said, the court will order the United States to certify by January 20, 2022, that it has

requested and sought all records from the U.S. Capitol Police that reflect any communications

made to the Presiding Officer of each House, and any other involved persons, that led to the

decision to recess the Certification of the Electoral College vote count on January 6, 2021. The

court understands such records to be what Defendant seeks from the U.S. Capitol Police.

See Def.’s Reply Mem. of P&A, ECF No. 546, at 16 (stating that “the subpoena seeks” records

“as to why the USCP recommended a recess to the presiding officer”).




Dated: December 23, 2021                                    Amit P. Mehta
                                                     United States District Court Judge
